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Registration Number/Date
       Registered                       Address              City, State, Zip
  VA 1-374-878/9-13-06                765 Distel Dr          Los Altos, CA 94022
 VA 1-375-640/09-13-06        1740-1744 W El Camino Real     Mountain View, CA 94040
 VA 1-375-640/09-13-06           1297 W El Camino Real       Mountain View, CA 94040
 VA 1-375-640/09-13-06         355-363 W El Camino Real      Mountain View, CA 94040
 VA 1-375-640/09-13-06              357 W El Camino          Mountain View, CA 94040
 VA 1-375-640/09-13-06                200 Main St            Los Altos, CA 94022
 VA 1-375-640/09-13-06          2825-3197 Meridian Ave       San Jose, CA 95124
 VA 1-375-640/09-13-06          874-880 Santa Cruz Ave       Menlo Park, CA 94025
 VA 1-375-640/09-13-06     12860-12890 Saratoga-Sunnyvale Rd Saratoga, CA 95070
 VA 1-378-246/08-17-06        14010-14180 Blossom Hill Rd    Los Gatos, CA 95032
 VA 1-378-246/08-17-06            4556 El Camino Real        Los Altos, CA 94022
  VA 1-391-644/5/11/07                111 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07              145-149 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07              151-157 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07              185-189 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07              203-205 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07              215-221 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07                243 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                251 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07              262-270 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07                271 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07              280-284 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07                290 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07              296-298 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07              100-140 State St         Los Altos, CA 94022
  VA 1-391-644/5/11/07                138 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                160 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                168 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                200 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                208 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                216 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07              220-240 Main St          Los Altos, CA 94022
  VA 1-391-644/5/11/07                242 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                244 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                248 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                252 Main St            Los Altos, CA 94022
  VA 1-391-644/5/11/07                252 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                300 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                342 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                366 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07                386 State St           Los Altos, CA 94022
  VA 1-391-644/5/11/07              390-398 State St         Los Altos, CA 94022
  VA 1-391-644/5/11/07                 60 Main St            Los Altos, CA 94022
  VA 1-391-688/3-27-07           1051 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1063 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1064 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1098 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1100 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1101 W El Camino Real       Mountain View, CA 94040
  VA 1-391-688/3-27-07           1128 W El Camino Real       Mountain View, CA 94040


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Registration Number/Date
       Registered                    Address            City, State, Zip
  VA 1-391-688/3-27-07       1141 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       1288 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07         1414 El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07     1442-1446 W El Camino Real   Mountain View, CA 94040
  VA 1-391-688/3-27-07       1482 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       1510 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       1544 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07        856 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07        939 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       1952 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07     1966-1970 W El Camino Real   Mountain View, CA 94040
  VA 1-391-688/3-27-07       2020 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       2034 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       2080 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07       2098 W El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07       2100 W El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07       2116 W El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07       2320 W El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07           2425 California St     Mountain View, CA 94040
  VA 1-391-688/3-27-07         2464 El Camino Real      Mountain View, CA 94040
  VA 1-391-688/3-27-07           2505 California St     Mountain View, CA 94040
  VA 1-391-688/3-27-07           2633 California St     Mountain View, CA 94040
  VA 1-391-688/3-27-07          1176 Los Altos Ave      Los Altos, CA 94022
  VA 1-391-688/3-27-07         2690 El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07         4333 El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07         4400 El Camino Real      Los Altos, CA 94022
  VA 1-391-688/3-27-07         4470 El Camino Real      Los Altos, CA 94022
  VA 1-421-724/7-2-07               240 3rd St          Los Altos, CA 94022
  VA 1-421-724/7-2-07              270 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07            301-325 State St       Los Altos, CA 94022
  VA 1-421-724/7-2-07              335 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              363 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07               366 2nd St          Los Altos, CA 94022
  VA 1-421-724/7-2-07              367 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              371 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              379 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              385 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07           398 S San Antonio       Los Altos, CA 94022
  VA 1-421-724/7-2-07            400 San Antonio        Los Altos, CA 94022
  VA 1-421-724/7-2-07            420 San Antonio        Los Altos, CA 94022
  VA 1-421-724/7-2-07            428 San Antonio        Los Altos, CA 94022
  VA 1-421-724/7-2-07              169 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              201 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              209 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              221 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              233 State St         Los Altos, CA 94022
  VA 1-421-724/7-2-07            239-253 State St       Los Altos, CA 94022
  VA 1-421-724/7-2-07            265-271 State St       Los Altos, CA 94022
  VA 1-421-724/7-2-07               295 2nd St          Los Altos, CA 94022
  VA 1-421-724/7-2-07              310 Main St          Los Altos, CA 94022


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Registration Number/Date
       Registered                   Address           City, State, Zip
  VA 1-421-724/7-2-07             316 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             346 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             350 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             366 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             378 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             380 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             388 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             400 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07              275 3rd St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             315 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             325 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07         330 S San Antonio       Los Altos, CA 94022
  VA 1-421-724/7-2-07             351 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07          353-357 Main St        Los Altos, CA 94022
  VA 1-421-724/7-2-07             363 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07             371 2nd St          Los Altos, CA 94022
  VA 1-421-724/7-2-07             399 Main St         Los Altos, CA 94022
  VA 1-421-724/7-2-07      705-713 E El Camino Real   Mountain View, CA 94040
  VA 1-421-724/7-2-07            951 Dale Ave         Mountain View, CA 94040




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